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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                      20-cr-286 (WHP)
  Shaquille Williams,
                                                                           ORDER
                        Defendant.



WILLIAM H PAULEY III, District Judge:

       A conference is scheduled in the above-captioned matter for October 19, 2020 at 9:00

a.m.   Links for the videoconference will be provided to counsel separately. The public dial-in

number is 855-268-7844, passcode 32091812 and the pin is 9921299.

       If the Court must transition to its teleconference line, a publicly-accessible audio line will

be available by dialing (888) 363-4749, and entering Access Code 3070580.


 Dated: October 16, 2020
        New York, New York
